Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2850 Filed 04/13/15 Page 1 of 15




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 Orlando Gordon,

        Petitioner,

 v.                                                 Criminal Case No. 11-20752
                                                    Civil Case No. 14-10912
 United States of America,

                                                    Honorable Sean F. Cox
       Respondent.                                  United States District Judge
 _________________________________/

       OPINION AND ORDER DENYING PETITIONER’S MOTION TO VACATE
              SENTENCE PURSUANT TO 28 U.S.C § 2255 (Doc. #494)

        On March 25, 2013, Petitioner pleaded guilty to Conspiracy to Possess With Intent to

 Distribute and to Distribute Marijuana, Cocaine, and Cocaine Base and Structuring a Currency

 Transaction. On September 13, 2013, this Court sentenced Petitioner to 190 months’ imprisonment

 as to Count One, and 60 months’ imprisonment on Count Two, to run concurrently. (Sentencing

 Trans., Doc. #501). Judgment was entered on September 27, 2013. (Judgment, Doc. #450).

        The matter is now before the Court on Petitioner’s Motion to Vacate Sentence pursuant to

 28 U.S.C. § 2255. (Doc. #494). The Government has filed a Response to Petitioner’s motion. (Doc.

 #526). For the reasons set forth below, the Court declines to hold an evidentiary hearing, and

 DENIES Petitioner’s Motion to Vacate Sentence.

                                        BACKGROUND

        The background facts are largely undisputed. On December 8, 2011, Petitioner, along with

 14 co-defendants, was indicted on several drug-related charges. (Indictment, Doc. #1).

        On March 25, 2013, Petitioner pleaded guilty to Counts One and Two of the Fifth

                                                1
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2851 Filed 04/13/15 Page 2 of 15




 Superceding Information, which charged Conspiracy to Possess With Intent to Distribute and to

 Distribute Marijuana, Cocaine, and Cocaine Base in violation of 21 U.S.C. §§ 841(a)(1) & 846

 (Count One), and Structuring a Currency Transaction in violation of 31 U.S.C. § 5324(a)(3) (Count

 Two). (Fifth Superceding Information, Doc. #346).

        Petitioner admitted that, between 2008 and May 2012, he and his co-defendants agreed that

 Petitioner would supply them with large quantities of marijuana and cocaine for further distribution.

 (Rule 11 Plea Agreement, Doc. #355 at 3). Furthermore, on June 8, 2007, Petitioner admitted that

 he had another person purchase several money orders made payable to him that were ultimately

 deposited in his bank account. (Doc. #355 at 3). Petitioner organized this transaction for the

 purpose of evading the financial institutions’ federal reporting requirements. (Id.).

        Attached to the Rule 11 Plea Agreement are several worksheets that were used by the parties

 to calculate Petitioner’s sentencing guideline range. (Rule 11 Plea Agreement, Doc. #355 at 11–19).

 Worksheet A section 2, entitled “Adjustments (U.S.S.G. ch. 3, pts. A, B, C),” states that Petitioner’s

 base offense level would receive a four level increase pursuant to §3B1.1(a) because Petitioner was

 a “Leader/organizer in activity w/ five-plus participants.”

        Petitioner reviewed the Rule 11 Plea Agreement and the attached worksheets with his

 attorney before he signed it. At the Plea Hearing, Petitioner was placed under oath, and he and the

 Court engaged in the following colloquy:

        The Court:              Sir, have you heard the charges that have been made against
                                you?

        Defendant Gordon:       Yes.

        The Court:              And have you discussed the charges, as well as the sentencing
                                consequences of these charges with Mr. Royal?


                                                   2
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2852 Filed 04/13/15 Page 3 of 15




       Defendant Gordon:   Yes.

       The Court:          Do you have any questions at all regarding the charges, as
                           well as the sentencing consequences of these charges?

       Defendant Gordon:   No, Your Honor.

       ....

       The Court:          Before you signed [the Rule 11 Plea Agreement], did you
                           read the document as well as the attached worksheets which
                           are worksheets A, B, C, which consists of two pages, D, as
                           well as worksheet E, which consists of three pages?

       Defendant Gordon:   Yes, Your Honor.

       The Court:          All right. Before you signed the document, did you review
                           the document as well as the attached worksheets with Mr.
                           Royal?

       Defendant Gordon:   Yes, I did Your, [sic] Honor.

       The Court:          And before you signed the document, did Mr. Royal answer
                           each and every question that you had regarding anything
                           contained in the Rule 11 Agreement, as well as the attached
                           worksheets?

       Defendant Gordon:   Yes, he did, Your Honor.

       The Court:          Do you have any questions at all regarding anything
                           contained in the Rule 11 Agreement, as well as the attached
                           worksheets?

       Defendant Gordon:   No, Your Honor.

       The Court:          Okay. Has Mr. Royal answered each and every question that
                           you’ve had regarding your case?

       Defendant Gordon:   Yes, Your Honor.

       The Court:          Are you satisfied with the advice and service that Mr. Royal
                           has provided to you in your case?

       Defendant Gordon:   Yes, Your Honor.

                                              3
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2853 Filed 04/13/15 Page 4 of 15




        ....

 (Plea Hearing Trans., Doc. #403 at pp. 6–8). Petitioner was aware that his stipulated guidelines

 range allowed for a sentence of up to 190 months’ incarceration, as evidenced by the following

 discussion that also took place at the plea hearing:

        The Court:              Okay. Now, could you drop down to page four, paragraph
                                2(b)?

        Defendant Gordon:       Yes.

        The Court:              Do you see where - - let me step back. Do you see where it
                                reads, “defendant’s guideline range is 168 to 210 months in
                                prison”?

        Defendant Gordon:       Yes, sir.

        The Court:              Okay. Now, of course the guidelines are advisory. However,
                                has Mr. Royal explained to you the significance of guidelines
                                in sentencing?

        Defendant Gordon:       Yes, sir.

        The Court:              Could you please turn to page five, paragraph 3(a),
                                imprisonment? Do you see where it reads, “Pursuant to
                                federal rule of civil procedure 1(c)(1)(C), the sentence of
                                imprisonment in this case may not exceed 190 months. The
                                Court must, however, sentence you to at least ten years in
                                prison.” Do you see that?

        Defendant Gordon:       Yes, Your Honor.

        The Court:              Any questions?

        Defendant Gordon:       No.

        ....

 (Plea Hearing Trans., Doc. #403 at pp. 12–13). Petitioner also stated on the record, under oath, that

 he had not been promised anything in exchange for his guilty plea, nor had he been pressured to


                                                   4
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2854 Filed 04/13/15 Page 5 of 15




 plead guilty:

        The Court:             Now, Mr. Gordon, apart from what is contained in the Rule
                               11 Agreement, which we just reviewed, have you been
                               promised anything by this Court, which would be me, the
                               Judge, the attorney for the government, which would be Mr.
                               Cares, or your attorney, Mr. Royal, that you will be put on
                               probation or receive any other specific sentence in return for
                               pleading guilty to Counts One and Two this morning?

        Defendant Gordon:      No, Your Honor.

         ....

        The Court:             All right. Has anyone tried to force you to plead guilty by
                               any mistreatment or pressure?

        Defendant Gordon:      No, Your Honor.

        The Court:             Are you pleading guilty freely and voluntarily because you
                               are guilty and it is your choice to plead guilty to Count One
                               and Count Two of the fifth superceding information?

        Defendant Gordon:      Yes, Your Honor.

        ....

 (Plea Hearing Trans., Doc. #403 at pp. 8–15).

        After the plea hearing, Petitioner’s attorney, John Royal, filed a Motion to Withdraw as Trial

 Counsel on behalf of Orlando Gordon. (Mo. to Withdraw, Doc. #363).1 On April 24, 2013, the


        1
        In an affidavit attached to the Government’s response to Petitioner’s § 2255 motion,
 John Royal states:

                During the several months leading up to the Guilty Plea Hearing and the
        Revocation of Mr. Orlando Gordon’s bond, I discussed with him on several
        occasions the substantial arrearage that had accrued in the amount he owed to me
        for attorney fees, because of the large number of hours which I was putting into
        representing him in this case. I also informed Mr. Orlando Gordon that, if he
        decided to go to trial, I would need his anticipated jury trial fees paid in advance.
        Further, I informed Mr. Gordon that unless these fees were paid, I would have to

                                                  5
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2855 Filed 04/13/15 Page 6 of 15




 Court issued an Order requiring John Royal to remain as co-counsel for Petitioner through

 sentencing. (Order, Doc. #393). At that time, the Court also appointed another attorney to represent

 Petitioner, and Martin J. Beres became Petitioner’s co-counsel. (Order Appointing Federal

 Defender, Doc. #394; Notice of Appearance of Martin J. Beres, Doc. #397).

        On September 13, 2013, this Court held a sentencing hearing as to Petitioner. (Sentencing

 Hearing Trans., Doc. #501). The Court imposed a 190 month sentence on Count One and a 60

 month sentence on Count Two, to run concurrently. (Doc. #501 at 20). Other than an objection

 regarding Petitioner’s prior criminal history, Petitioner made no objections to the Presentence Report

 or to the sentence imposed. At the end of the sentencing hearing, the Court orally granted John

 Royal’s Motion to Withdraw as Counsel for Petitioner. (Sentencing Hearing Trans., Doc. #501 at

 24).

        Petitioner filed the instant Motion to Vacate Sentence on February 27, 2014 (Doc. #494).

 Petitioner argues that his sentence should be vacated, and a new sentence imposed because 1) his

 trial counsel was ineffective because he threatened to withdraw his representation if Petitioner did

 not plead guilty and deceived Petitioner regarding the terms of the plea deal, and 2) the Court

 violated Petitioner’s rights under the Fifth and Sixth Amendment by finding that he was the




        withdraw from continuing to represent him, and he could go to trial with either
        another retained attorney, or with court-assigned counsel. Mr. Orlando Gordon
        kept telling me that he was trying to raise the money needed to keep me in the
        case . . .
                 At no time did I ever threaten Mr. Orlando Gordon that if he did not plead
        guilty, I would move to withdraw as his attorney . . . To the contrary, Mr. Gordon
        approached me and asked me to see what kind of a settlement agreement I could
        negotiate.

 (Royal Aff., attached to Gvmt. Resp., Doc. #526 at Ex. 1 p. 5).

                                                   6
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2856 Filed 04/13/15 Page 7 of 15




 leader/organizer of the conspiracy for sentencing purposes. The Court ordered the Government to

 file a response (Doc. #497), which the Government filed on November 5, 2014 (Doc. #526).

                                       LEGAL STANDARD

         Petitioner’s motion is brought pursuant to 28 U.S.C. § 2255, which provides:

         A prisoner in custody under a sentence of a court established by Act of Congress
         claiming the right to be released upon the ground that the sentence imposed was in
         violation of the Constitution or laws of the United States, or that the court was
         without jurisdiction to impose such a sentence, or that the sentence was in excess of
         the maximum authorized by law, or is otherwise subject to collateral attack, may
         move the court which imposed the sentence to vacate, set aside, or correct the
         sentence.

 28 U.S.C. § 2255(a). To prevail on a § 2255 motion, “a petitioner must demonstrate the existence

 of an error of constitutional magnitude which has a substantial and injurious effect or influence on

 the guilty plea or the jury’s verdict.” Humphress v. United States, 398 F.3d 855, 858 (6th Cir. 2005).

 A movant can prevail on a § 2255 motion alleging non-constitutional error only by establishing a

 “fundamental defect which inherently results in a complete miscarriage of justice, or an error so

 egregious that it amounts to a violation of due process.” Watson v. United States, 165 F.3d 486, 488

 (6th Cir. 1999). The Court must hold an evidentiary hearing on a § 2255 motion “[u]nless the

 motion and the files and records of the case conclusively show that the prisoner is entitled to no

 relief . . . .” 28 U.S.C. § 2255(b); Blanton v. United States, 94 F.3d 227, 235 (6th Cir. 1996)

 (“evidentiary hearings are not required when . . . the record conclusively shows that the petitioner

 is entitled to no relief.”).




                                             ANALYSIS

 1)      Ineffective Assistance of Counsel


                                                   7
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2857 Filed 04/13/15 Page 8 of 15




        Petitioner argues that he was denied effective assistance of trial counsel because 1) John

 Royal threatened to withdrawal from the case if Petitioner did not plead guilty, and 2) John Royal

 deceived Petitioner about the terms of the Plea Agreement, and erroneously informed Petitioner that

 he would receive a “capped sentence” of 10 years if he pleaded guilty. (Petr. Mo. at 5).

        Ineffective assistance of counsel claims are governed by the familiar test set forth in

 Strickland v. Washington, 466 U.S. 668 (1984). In order to demonstrate ineffective assistance of

 counsel, a petitioner must show both that defense counsel’s performance was deficient, and that

 petitioner suffered prejudice as a result. Id. at 687.

        “The benchmark for judging any claim of ineffectiveness must be whether counsel’s conduct

 so undermined the proper functioning of the adversarial process that the trial cannot be relied on as

 having produced a just result.” Id. at 686. “The defendant must show that there is a reasonable

 probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

 been different.” Id. at 694. Indeed, it is permissible for a court to determine that prejudice cannot

 be established, and thus dispose of the claim without deciding whether counsel performed

 deficiently. Id. at 697 (“[i]f it is easier to dispose of an ineffectiveness claim on the ground of lack

 of sufficient prejudice . . . that course should be followed.”).

        The Sixth Amendment requires effective assistance of counsel at all critical stages of a

 criminal proceeding. Lafler v. Cooper, 132 S. Ct. 1376, 1385 (2012). “The negotiation of a plea

 bargain is a critical phase of litigation for purposes of the Sixth Amendment right to effective

 assistance of counsel.” Padilla v. Kentucky, 559 U.S. 356, 373 (2010), citing Hill v. Lockhart, 474

 U.S. 52, 57 (1985).

        It is well accepted that “the decision to plead guilty first, last, and always rests with the


                                                    8
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2858 Filed 04/13/15 Page 9 of 15




 defendant, not his lawyer.” Smith v. U.S., 348 F.3d 545, 552 (6th Cir. 2003). However, an attorney

 is obligated to fully inform his or her client of all available options. Smith, 348 F.3d at 552-53. “A

 criminal defendant has a right to expect at least that his attorney will review the charges with him

 by explaining the elements necessary for the government to secure a conviction, discuss the evidence

 as it bears on those elements, and explain the sentencing exposure the defendant will face as a

 consequence of exercising each of the options available.” Id. The failure of defense counsel to

 “provide professional guidance to a defendant regarding his sentence exposure prior to a plea may

 constitute deficient assistance.” Smith, 348 F.3d at 553, quoting Moss v. United States, 323 F.3d

 445, 474 (6th Cir. 2003). In order to demonstrate prejudice, “the petitioner must show ‘a reasonable

 probability’ that ‘counsel’s constitutionally ineffective performance affected the outcome of the plea

 process.’” Briggs v. U.S., 187 Fed. App’x 540, 543 (6th Cir. 2006), quoting Smith, 348 F.3d at 551.

         Petitioner argues that his trial counsel, John Royal, was deficient because he threatened that

 he would withdrawal from representing Petitioner unless he pleaded guilty. The Government

 responds that Petitioner’s argument is directly contradicted by his trial counsel (via affidavit) as well

 as Petitioner’s own statements at the plea hearing.

         The Court finds that Petitioner’s assertion is wholly unsupported by the evidence and records

 in this case. Pursuant to Criminal Rule 11, the Court engaged in an extensive plea colloquy with

 Petitioner at his plea hearing, where the Court specifically asked Petitioner whether “anyone tried

 to force [him] to plead guilty by any mistreatment or pressure[.]” (Plea Hearing Trans., Doc. #403

 at 15). Petitioner responded, “No, Your Honor.” (Id.). Petitioner’s contention that his attorney

 pressured him into pleading guilty by threatening to withdrawal from representation belies his

 previous assertion, made under oath at the plea hearing, that he was not pressured into pleading


                                                    9
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2859 Filed 04/13/15 Page 10 of 15




 guilty. This Court went to great lengths to ensure both that Petitioner knew and understood all of

 the terms of the Rule 11 Plea Agreement, and that Petitioner voluntarily accepted the Plea

 Agreement’s terms. Petitioner cannot now collaterally attack the plea agreement by contradicting

 his prior testimony. See U.S. v. Green, 388 F.3d 918, 923 (6th Cir. 2004) (rejecting argument that

 defendant’s attorney and family coerced him into accepting plea offer where “the judge made a

 careful and searching inquiry to make sure the plea was entered voluntarily” at the plea hearing).

         Petitioner also argues that his plea was not knowing and voluntary because his trial counsel

 “deceived” him about the terms of the plea agreement. Petitioner appears to claim that his trial

 counsel promised him that he would receive a capped sentence of 10 years if he pleaded guilty. The

 Government responds that “a defense attorney’s incorrect estimation of ‘the sentence that a

 defendant is likely to receive is not a ‘fair and just’ reason to allow withdrawal of a plea

 agreement.’” (Gvmt. Resp. at 7, quoting U.S. v. Stephens, 906 F.2d 251, 253 (6th Cir. 1990)).

         The Court finds that Petitioner’s claim that his attorney erred in predicting the sentence he

 would receive is not a basis to find that his plea was not knowing and voluntary. First, “a counsel’s

 erroneous sentencing predictions generally are not grounds for ineffective assistance claims.”

 Schuett v. U.S., 2014 WL 5465447 (E.D. Mich. Oct. 28, 2014) (adopting Report and

 Recommendation) (citing U.S. v. Hicks, 4 F.3d 1358, 1363 n. 3 (6th Cir. 1993)); Iaea v. Sunn, 800

 F.2d 861, 865 (9th Cir. 1986) (“[A] mere inaccurate prediction, standing alone, would not constitute

 ineffective assistance . . . .”).

         Next, as with his first claim, Petitioner’s assertion is directly contradicted by the record of

 the plea hearing. The Court specifically asked Petitioner whether his attorney promised him a

 specific sentence in exchange for his guilty plea; Petitioner responded, “No, Your Honor.” (Plea


                                                   10
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2860 Filed 04/13/15 Page 11 of 15




 Hearing Trans. at pp. 14-15).

        The Court further informed Petitioner that his minimum sentence was 10 years, the

 maximum sentence was life in prison, the guidelines range was 168-210 months, and the Plea

 Agreement permitted a sentence of up to 190 months. (Plea Hearing Trans. at 6-7, 12-13). Where

 a court correctly informs a defendant of his or her sentencing exposure before accepting a guilty

 plea, the plea should not be invalidated simply because defendant’s attorney’s made an erroneous

 prediction about sentencing outcomes. Stephens, 906 F.2d at 253 (disagreeing that defendant’s

 guilty plea was not knowing and voluntary because he did not know his guideline sentencing range,

 where defendant had been “adequately informed of the consequences of his plea, even if the specific

 Guideline range was not known to him . . . .”); Stout v. United States, 508 F.2d 951, 953 (6th Cir.

 1975) (citing Holland v. United States, 406 F.2d 213, 216 (5th Cir. 1969) (“A plea is not rendered

 involuntary merely because a prediction that a guilty plea will result in a light sentence does not

 come true.”)); see, e.g., Baker v. U.S., 781 F.2d 85, 88 (6th Cir. 1986) (upholding guilty plea where

 defendant claimed his attorney “threatened” him into pleading guilty with a 75 year sentence,

 because court itself properly informed defendant that the maximum sentence was 30 years of

 incarceration).

        Additionally, Petitioner’s trial counsel, John Royal, denies that he promised Petitioner that

 he would receive a 10 year “capped” sentence. (Royal Aff., Doc. #526 at Ex. 1 ¶ 11 (“At no time

 did I inform Mr. Gordon, or in any way lead him to believe, that this [Plea] Agreement required or

 made it likely that he would be sentenced to a term of no more than ten years in prison.”)).

        Based on the foregoing, the Court finds that the evidence and records conclusively show that

 Petitioner’s plea was knowingly and voluntarily made, and that Petitioner’s allegations of ineffective


                                                  11
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2861 Filed 04/13/15 Page 12 of 15




 assistance are without merit.

 2)     Violation of Alleyne and Descamps

        Petitioner argues that this Court violated his constitutional rights when it imposed a four

 level enhancement to Petitioner’s base offense level for Petitioner’s role as a leader/organizer in the

 conspiracy. (Pet’r Mo. at p. 7.1). Petitioner argues that the Court engaged in impermissible judicial

 fact-finding, and that this runs afoul of Descamps2 and Alleyne.3 The Government responds that

 neither Descamps nor Alleyne apply in this case, and that the Court’s scoring of the sentencing

 guidelines was proper.

        The Court finds that Petitioner’s reliance on Descamps is misplaced. The issue presented

 in Descamps concerned the manner by which a sentencing court could determine whether a

 defendant’s prior convictions constitute the crimes enumerated under the Armed Career Criminal

 Act (“ACCA”), 18 U.S.C. § 924(e). Descamps, 133 S. Ct. at 2281-82. Specifically, the United

 States Supreme Court considered the instances in which a sentencing court could look beyond the

 elements of a criminal statute, i.e. to the charging documents and jury instructions, to determine if

 a defendant’s prior conviction is a “violent felony or a serious drug offense” as defined by the

 ACCA. Id. Here, Petitioner was not charged under the ACCA, and Descamps does not otherwise

 limit this Court’s ability to determine Petitioner’s sentencing guidelines range.

        In Alleyne, the United States Supreme Court considered the limits of permissible judicial

 fact-finding at sentencing. The defendants in Alleyne were charged with robbery affecting interstate




        2
            Descamps v. U.S., 133 S. Ct. 2276 (2013).
        3
            Alleyne v. U.S., 133 S. Ct. 2151 (2013).

                                                   12
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2862 Filed 04/13/15 Page 13 of 15




 commerce4 and using or carrying a firearm in relation to a crime of violence.5 The firearm charge

 carried different mandatory minimum sentences depending on whether or not the firearm was

 “brandished”—5 years for using or carrying the firearm, but 7 years if the firearm was “brandished.”

 Alleyne, 133 S. Ct. at 2155–56.

        The jury convicted defendants of the firearm charge, but did not indicate a finding that the

 firearm had been brandished. The presentence report recommended a 7 year mandatory minimum

 sentence based on a finding that the firearm had been brandished. The district court found that the

 evidence supported a finding of brandishing and sentenced Alleyne to 7 years imprisonment on the

 firearm charge. Id. at 2156.

        The United States Supreme Court reversed. Id. at 2163–64. The Court held that any fact that

 increases the mandatory minimum sentence for a crime is an “element” of the crime and must be

 submitted to a jury. Alleyne, 133 S. Ct. at 2155. However, the Court took care to note that its

 holding in Alleyne “does not mean that any fact that influences judicial discretion must be found by

 a jury.” Id. at 2163.

        On its face, Alleyne does not forbid the Court’s finding that Petitioner was a leader and/or

 organizer of the conspiracy for guidelines calculation purposes. The 4 level enhancement under

 §3B1.1 used in calculating Petitioner’s guidelines range did not increase the mandatory minimum

 sentence to which Petitioner was subject. Thus, it does not appear that the facts underlying this

 Court’s application of the §3B1.1 enhancement were required to be found by a jury beyond a



        4
            18 U.S.C. § 1951(a)
        5
            18 U.S.C. 924(c)(1)(A).

                                                 13
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2863 Filed 04/13/15 Page 14 of 15




 reasonable doubt, per Alleyne.

         More to the point, the Sixth Circuit has held that a district court does not violate a

 defendant’s Sixth Amendment and due process rights by making factual findings regarding

 defendant’s role in the offense in order to determine the proper sentencing guidelines range. U.S.

 v. Sexton, 512 F.3d 326, 329–30 (6th Cir. 2008) (upholding district court’s fact-finding as to

 defendants’ roles in the offense, where district court considered trial testimony and applied §3B1.1

 enhancements); see United States v. White, 551 F.3d 381, 385 (6th Cir. 2008) (en banc) (“So long

 as the defendant receives a sentence at or below the statutory ceiling set by the jury’s verdict, the

 district court does not abridge the defendant’s right to a jury trial by looking to other facts, including

 acquitted conduct, when selecting a sentence within that statutory range.”); United States v. Smith,

 749 F.3d 465, 487 (6th Cir. 2014), cert. denied, 135 S. Ct. 307 (2015) (“both Apprendi and Alleyne

 took care not to disturb the district court’s discretionary fact-finding in other circumstances.”).

         Based on the foregoing, the Court finds that Petitioner’s Sixth Amendment and due process

 rights were not violated when the Court found that Petitioner was a leader and/or organizer of the

 drug conspiracy, and applied the §3B1.1 enhancement in determining Petitioner’s sentencing

 guidelines range.

 3)      Evidentiary Hearing

         As previously discussed, this Court must hold an evidentiary hearing on Petitioner’s § 2255

 motion unless the evidence and record conclusively show that Petitioner is not entitled to relief. 28

 U.S.C. § 2255(b). The Court concludes that the evidence and records on file show that there are no

 genuine issues of fact to be resolved, and that Petitioner is not entitled to relief. Moreover, the Court

 notes that Petitioner has not requested an evidentiary hearing. Therefore, the Court shall decline to

                                                    14
Case 2:11-cr-20752-SFC-RSW ECF No. 546, PageID.2864 Filed 04/13/15 Page 15 of 15




 hold an evidentiary hearing in this matter.

                                          CONCLUSION


        For the reasons set forth above, IT IS ORDERED that Petitioner’s Motion to Vacate

 Sentence pursuant to 28 U.S.C. § 2255 is DENIED.

        “A certificate of appealability may issue . . . only if the applicant has made a substantial

 showing of the denial of a constitutional right.” 28 U.S.C. §2352(c)(2). Based on the above

 discussion, Petitioner has not made a substantial showing of the denial of a constitutional right.

 Petitioner’s claims do not establish that “reasonable jurists would find the district’s court’s

 assessment of the constitutional claims debatable or wrong.” Slack v. McDaniel, 528 US. 473, 484

 (2000). Accordingly, IT IS ORDERED that a certificate of appealability is DENIED.

        IT IS SO ORDERED.


 Dated: April 13, 2015                               S/ Sean F. Cox
                                                      Sean F. Cox
                                                      U. S. District Judge


 I hereby certify that on April 13, 2015, the foregoing document was served on counsel of record
 via electronic means and upon Orlando Gordon via First Class mail at the address below:
 ORLANDO GORDON 46628-039
 GILMER FEDERAL CORRECTIONAL INSTITUTION
 INMATE MAIL/PARCELS
 P.O. BOX 6000
 GLENVILLE, WV 26351
                               S/ J. McCoy
                               Case Manager




                                                15
